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                         Exhibit 1
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 1              UNITED STATES DISTRICT COURT
                EASTERN DISTRICT OF LOUISIANA
 2
 3   IN RE:   OIL SPILL         )   MDL NO. 2179
     BY THE OIL RIG         )
 4   "DEEPWATER HORIZON" IN )       SECTION "J"
     THE GULF OF MEXICO, ON )
 5   APRIL 20, 2010             )   JUDGE BARBIER
                                )   MAG. JUDGE SHUSHAN
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17                     *****************
                            VOLUME 1
18                     *****************
19
20
              Deposition of Calvin Charles Barnhill,
21   P.E., taken at the Pan-American Building, 601
     Poydras Street, 11th Floor, New Orleans,
22   Louisiana, 70130, on the 29th day of November,
     2011.
23
24
25



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 1       Q.   -- do you accept that that was around the
 2   time of the loss of the Sperry-Sun data?
 3       A.   Yes.
 4       Q.   Is it your understanding?
 5       A.   Yes.
 6       Q.   Okay.   And you haven't done anything to
 7   come to a different conclusion than the
 8   conclusion that the explosion was right around
 9   the time of the loss of data transmission, have
10   you?
11       A.   I have not.
12       Q.   Okay.   From your standpoint,
13   Mr. Barnhill, what was the last point in time
14   that the blowout or the explosion that took place
15   on the night of April 20th, when was the last
16   point in time that that could have been
17   prevented?
18       A.   I guess my comment would be just like I
19   put in my Report.     I -- you know, the -- the
20   latest I would have liked to seen the well
21   shut-in was around 21 -- 21:31, 32, somewhere in
22   that timeframe.
23       Q.   Okay.
24       A.   The simulations tell us that, you know,
25   had it been done at that time, the gas would not


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 1   have reached the riser.       Now whether that's true
 2   or not, I -- I don't know, but that's what the
 3   simulation suggests.
 4            But I -- I certainly think that had the
 5   well been shut-in at that time, there would have
 6   been a different outcome.       What that outcome
 7   would have been, I don't know, but I think there
 8   would have been a different series of facts that
 9   developed from that point forward.
10      Q.    I'll -- I'm going to try to be careful,
11   more careful than I was on the last question
12   about distinguishing between a blowout and an
13   explosion.
14      A.    Okay.
15      Q.    So just to be -- make sure we have it
16   right.
17            In terms of just the blowout itself --
18      A.    (Nodding.)
19      Q.    -- when would be the last point in time
20   you think the -- the -- the blowout could have
21   been prevented?     And then I'm going to ask you
22   separately about explosion.        Okay?
23      A.    (Nodding.)
24      Q.    So the question being, when would you say
25   the last point in time the blowout could have


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 1      A.    Yeah.    I mean, they call it the analogy
 2   [sic].   So that would indicate to me that they
 3   were -- they were paying attention to a pre --
 4   pressure profile at that point and -- and caught
 5   the anomaly.
 6      Q.    And it's your opinion that once the --
 7   the rig pumps were shut down at 2131 that a
 8   manual flow check followed by an immediate
 9   shut-in in the Macondo Well should have occurred?
10      A.    Yes.
11      Q.    And that's basic well control?
12      A.    That is basic well control.
13      Q.    That both the Driller and Assistant
14   Driller had one schooled in?
15      A.    Yes, they had been schooled in, and, in
16   fact, we know that there had been other kicks
17   that they had done that on.
18      Q.    And --
19      A.    Or I should say, another kick, the
20   March 8th kick.
21      Q.    And according to some of the modeling,
22   which I understand, you know, garbage in, garbage
23   out --
24      A.    (Nodding.)
25      Q.    -- but according to that modeling, at


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 1   21:31, was -- would the kick have still been
 2   below the -- the BOP?
 3      A.   I -- I believe that's what the different
 4   simulations have indicated, that the kick
 5   would not have been kicking fluid.         The -- the
 6   gas would not have been over the riser yet.
 7      Q.   And that's -- and one of the goals of
 8   well control is to shut the well in before the
 9   kick reaches the riser?       Is that what you said
10   earlier?
11      A.   Well, the -- the -- the goal is to -- to
12   shut it in as quickly as you've detected it, or
13   as soon as -- after you detected that you confirm
14   it to minimize the influx.       So as soon as you
15   detect it, yeah, you would -- you would like to
16   keep it confined in -- in the well.
17      Q.   Okay.    And so if the drill crew had
18   followed your -- your direction and shut the well
19   in at 21:31, the kick would have still been below
20   the BOP?
21      A.   That's what the simulations tell us.
22   I -- I don't know, but that's what the
23   simulations tell us.
24      Q.   Okay.    And I think I heard you testify
25   earlier that you believed that had the drill crew


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